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                                               UNITED STATES BANKRUPTCY COURT
                                                  EASTERN DISTRICT OF TEXAS
                                                       SHERMAN DIVISION

               IN RE:                                                   §
                                                                        §
                   REMARKABLE HEALTHCARE OF                             §           Case No. 24-40611 & 24-40612
                    SEGUIN LP AND REMARKABLE                            §              (Jointly Administered)
                         HEALTHCARE LLC
                                Debtor(s).                              §


     SUBPOENA TO APPEAR AND TESTIFY AT A HEARING OR TRIAL IN BANKRUPTCY PROCEEDING

  To: Rudolph V. Renda
           Renew Partners, LLC
           3724 N White Chapel Blvd
           Southlake, TX 76092

          YOU HERETO ARE COMMANDED to appear in the United States Bankruptcy Court at the time, date, and
  place set forth below to testify at a hearing or trial in this civil action. When you arrive, you must remain at the court until
  the judge, or a court officer allows you to leave.

  Place:           Plano Bankruptcy Courtroom                                    Courtroom No.: BANKRUPTCY COURT*
                   600 N. Central Expressway                                     Date and Time: January 13, 2025 at 10:00 a.m.
                   Third Floor
                   Plano, TX 75074
  You must also bring with you the following documents, electronically stored information, or objects (leave blank if not
  applicable):

  The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance; Rule 45(d),
  relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond to
  this subpoena and the potential consequences of not doing so.

  Date:         January 10, 2025
                                             CLERK OF COURT

                                                                                    OR


                                                                                         JEFF CARRUTH
                                            Signature of Clerk or Deputy Clerk



                                                  {CONTINUED ON FOLLOWING SHEET}




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  The name, address, e-mail address, and telephone number of the attorney representing KRS Seguin, LLC, et al who issues
  or requests this subpoena, are:

  Jeff Carruth
  WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
  2608 Hibernia, Suite 105
  Dallas, TX 75204-2514
  Telephone: (713) 341-1158

  jcarruth@wkpz.com

                                  Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things before
  trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
  whom it is directed. Fed. R. Civ. P. 45(a)(4).


                                                 {CONTINUED ON FOLLOWING SHEET}




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  AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 2)



                                                           PROOF OF SERVICE
                           (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

               I received this subpoena for (name of individual and title, if
  any)
  on
                                             .
  (date)

                       I served the subpoena by delivering a copy to the named person as follows:


                                                                                               on (date)                            ; or

                       I returned the subpoena unexecuted because:
                                                                                                                                           .


              Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
              tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
              $                                  .

  My fees are $                                  for travel and $                                  for services, for a total of $          .


              I declare under penalty of perjury that this information is true.


  Date:
                                                                                                       Server’s signature


                                                                                                   Printed name and title




                                                                                                       Server’s address

  Additional information regarding attempted service, etc.:


  AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 3)




  AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 3)
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                                 Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
  (c) Place of Compliance.                                                                 (ii) disclosing an unretained expert’s opinion or information that does
                                                                                      not describe specific occurrences in dispute and results from the expert’s
    (1) For a Trial, Hearing, or Deposition. A subpoena may command a                 study that was not requested by a party.
  person to attend a trial, hearing, or deposition only as follows:                      (C) Specifying Conditions as an Alternative. In the circumstances
     (A) within 100 miles of where the person resides, is employed, or                described in Rule 45(d)(3)(B), the court may, instead of quashing or
  regularly transacts business in person; or                                          modifying a subpoena, order appearance or production under specified
     (B) within the state where the person resides, is employed, or regularly         conditions if the serving party:
  transacts business in person, if the person                                              (i) shows a substantial need for the testimony or material that cannot be
        (i) is a party or a party’s officer; or                                       otherwise met without undue hardship; and
        (ii) is commanded to attend a trial and would not incur substantial                (ii) ensures that the subpoenaed person will be reasonably
  expense.                                                                            compensated.

    (2) For Other Discovery. A subpoena may command:                                  (e) Duties in Responding to a Subpoena.
     (A) production of documents, electronically stored information, or
  tangible things at a place within 100 miles of where the person resides, is           (1) Producing Documents or Electronically Stored Information. These
  employed, or regularly transacts business in person; and                            procedures apply to producing documents or electronically stored
     (B) inspection of premises at the premises to be inspected.                      information:
                                                                                         (A) Documents. A person responding to a subpoena to produce documents
  (d) Protecting a Person Subject to a Subpoena; Enforcement.                         must produce them as they are kept in the ordinary course of business or
                                                                                      must organize and label them to correspond to the categories in the demand.
   (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney                  (B) Form for Producing Electronically Stored Information Not Specified.
  responsible for issuing and serving a subpoena must take reasonable steps           If a subpoena does not specify a form for producing electronically stored
  to avoid imposing undue burden or expense on a person subject to the                information, the person responding must produce it in a form or forms in
  subpoena. The court for the district where compliance is required must              which it is ordinarily maintained or in a reasonably usable form or forms.
  enforce this duty and impose an appropriate sanction—which may include                 (C) Electronically Stored Information Produced in Only One Form. The
  lost earnings and reasonable attorney’s fees—on a party or attorney who             person responding need not produce the same electronically stored
  fails to comply.                                                                    information in more than one form.
                                                                                         (D) Inaccessible Electronically Stored Information. The person
   (2) Command to Produce Materials or Permit Inspection.                             responding need not provide discovery of electronically stored information
     (A) Appearance Not Required. A person commanded to produce                       from sources that the person identifies as not reasonably accessible because
  documents, electronically stored information, or tangible things, or to             of undue burden or cost. On motion to compel discovery or for a protective
  permit the inspection of premises, need not appear in person at the place of        order, the person responding must show that the information is not
  production or inspection unless also commanded to appear for a deposition,          reasonably accessible because of undue burden or cost. If that showing is
  hearing, or trial.                                                                  made, the court may nonetheless order discovery from such sources if the
     (B) Objections. A person commanded to produce documents or tangible              requesting party shows good cause, considering the limitations of Rule
  things or to permit inspection may serve on the party or attorney designated        26(b)(2)(C). The court may specify conditions for the discovery.
  in the subpoena a written objection to inspecting, copying, testing, or
  sampling any or all of the materials or to inspecting the premises—or to            (2) Claiming Privilege or Protection.
  producing electronically stored information in the form or forms requested.           (A) Information Withheld. A person withholding subpoenaed information
  The objection must be served before the earlier of the time specified for           under a claim that it is privileged or subject to protection as trial-preparation
  compliance or 14 days after the subpoena is served. If an objection is made,        material must:
  the following rules apply:                                                              (i) expressly make the claim; and
       (i) At any time, on notice to the commanded person, the serving party              (ii) describe the nature of the withheld documents, communications, or
  may move the court for the district where compliance is required for an             tangible things in a manner that, without revealing information itself
  order compelling production or inspection.                                          privileged or protected, will enable the parties to assess the claim.
       (ii) These acts may be required only as directed in the order, and the           (B) Information Produced. If information produced in response to a
  order must protect a person who is neither a party nor a party’s officer from       subpoena is subject to a claim of privilege or of protection as trial-
  significant expense resulting from compliance.                                      preparation material, the person making the claim may notify any party that
                                                                                      received the information of the claim and the basis for it. After being
   (3) Quashing or Modifying a Subpoena.                                              notified, a party must promptly return, sequester, or destroy the specified
    (A) When Required. On timely motion, the court for the district where             information and any copies it has; must not use or disclose the information
  compliance is required must quash or modify a subpoena that:                        until the claim is resolved; must take reasonable steps to retrieve the
       (i) fails to allow a reasonable time to comply;                                information if the party disclosed it before being notified; and may promptly
       (ii) requires a person to comply beyond the geographical limits                present the information under seal to the court for the district where
  specified in Rule 45(c);                                                            compliance is required for a determination of the claim. The person who
       (iii) requires disclosure of privileged or other protected matter, if no       produced the information must preserve the information until the claim is
  exception or waiver applies; or                                                     resolved.
       (iv) subjects a person to undue burden.
    (B) When Permitted. To protect a person subject to or affected by a               (g) Contempt.
  subpoena, the court for the district where compliance is required may, on           The court for the district where compliance is required—and also, after a
  motion, quash or modify the subpoena if it requires:                                motion is transferred, the issuing court—may hold in contempt a person
        (i) disclosing a trade secret or other confidential research,                 who, having been served, fails without adequate excuse to obey the
  development, or commercial information; or                                          subpoena or an order related to it.




                                            For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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-------- Original message --------
From: Special Delivery <ProcessDept@SpecialDelivery.com>
Date: 1/11/25 9:49 PM (GMT-06:00)
To: Mary Cornell <mcornell@wkpz.com>
Subject: Process Update - Served - RUDOLPH V RENDA - Reference: kil010.00001


      MARY CORNELL,
      An important update below!

     Special Delivery Process Serving Update:
       Order Number: 0100244
       Served: 01/11/25 at 4:40 PM
       RUDOLPH V RENDA Has Been Successfully Served.
       Affidavit preparation or court filing will be done.

       SERVICE REQUESTED BY:                PROCESS SERVICE RECIPIENT:
       MARY CORNELL                         RUDOLPH V RENDA
       JEFF CARRUTH ATTORNEY                3724 N WHITE CHAPEL BLVD
       ACCOUNT: 2145527242                  SOUTHLAKE, TX 76092


       ADDITIONAL INFORMATION:              SERVICE CONTACT:
       Order Placed: 01/10/25 at 3:38 PM    Brian K. Lewis
       Type: *****Immediate Process         Direct: 469-939-0968
       Serving*****                         196@specialdelivery.com



      Special Delivery (214) 866-3270       www.SpecialDelivery.com
